        Case 1:23-cv-00269-BLW Document 11-1 Filed 05/31/23 Page 1 of 8




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Attorneys for Plaintiffs                    * Pro hac vice application pending
                                 UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF IDAHO
                                      SOUTHERN DIVISION

 PAM POE, by and through her parents and next
 friends, Penny and Peter Poe; PENNY POE;
 PETER POE; JANE DOE, by and through her
 parents and next friends, Joan and John Doe; JOAN
 DOE; JOHN DOE,
                                                     Case No. 1:23-cv-00269
                            Plaintiffs,
                                                     PLAINTIFFS’ BRIEF IN SUPPORT
                v.                                   OF MOTION TO PROCEED
                                                     UNDER PSEUDONYMS
 RAÚL LABRADOR, in his official capacity as
 Attorney General of the State of Idaho; JAN M.
 BENNETTS, in her official capacity as County
 Prosecuting Attorney for Ada, Idaho, and the
 INDIVIDUAL MEMBERS OF THE IDAHO
 CODE COMMISSION, in their official capacities,
                           Defendants.
        Case 1:23-cv-00269-BLW Document 11-1 Filed 05/31/23 Page 2 of 8




   Introduction

       Plaintiffs are transgender youth and their parents. They bring this action to protect their

right to obtain necessary gender-affirming medical care, by challenging the constitutionality of

H.B. 71, which prohibits the provision of gender-affirming medical care to transgender youth

and which Governor Little signed into law on April 4, 2023. Plaintiffs move here for permission

to proceed under pseudonyms in this case. They do so because of the history of violence and

harassment towards transgender people and those who support them, and the heightened

publicity and scorn often directed at plaintiffs in litigation such as this. H.B. 71 bans certain

healthcare for minors. No child should have to publicly identify themselves to challenge that

law.

       Plaintiffs therefore respectfully request that the Court allow Plaintiffs Pam Poe and Jane

Doe, both minor children, and their parents and next friends, Plaintiffs Penny and Peter Poe and

Joan and John Doe, to proceed under pseudonyms to protect their privacy and ensure their safety.

Parties may preserve their anonymity in judicial proceedings “in special circumstances when the

party’s need for anonymity outweighs prejudice to the opposing party and the public’s interest in

knowing the party’s identity.” Does I thru XXIII v. Advanced Textile Corp., 214 F.3d 1058,

1068–69 (9th Cir. 2000). This Court has previously granted such a motion under very similar

circumstances, recognizing the potential harm from revealing the identities of a minor plaintiff

and her parents challenging a law targeting transgender girls and women. See generally Order

on Plaintiffs’ Motion for Minor and Her Next Friends to Proceed Under Pseudonyms (Dkt. 9),

Hecox v. Little, No. 1:20-cv-00184-DCN. Dkt. 48 at 2–3 (June 12, 2020). Plaintiffs ask that the

Court do so here as well.




                                                      2
        Case 1:23-cv-00269-BLW Document 11-1 Filed 05/31/23 Page 3 of 8




   Argument

       A.      Plaintiffs Should Be Permitted to Proceed Under Pseudonym To Protect the
               Privacy of the Minor Plaintiffs.

       The Federal Rules require protecting the identities of minors in court filings by using

their initials rather than their full names. See Fed. R. Civ. P. 5.2(a)(3). In addition, courts

routinely allow minors to proceed under pseudonym, recognizing the “heightened protection”

appropriate for minor plaintiffs. See, e.g., Doe v. Porter, 370 F.3d 558, 561 (6th Cir. 2004); see

also Doe v. Stegall, 653 F.2d 180, 186 (5th Cir. 1981) (noting the “special vulnerability” of

minor plaintiffs). And courts always have “discretion to allow parties to use pseudonyms in the

unusual case when nondisclosure of the party’s identity is necessary . . . to protect a person from

harassment, injury, ridicule or personal embarrassment.” D.T. v. Armstrong, Case No. 1:17-cv-

00248-EJL, 2017 WL 2636519, at *1 (D. Idaho June 16, 2017) (quoting Advanced Textile Corp.,

214 F.3d at 1068–69) (internal quotations omitted).

       Pam Poe and Jane Doe are minors. Poe Decl. ¶ 3; Doe Decl. ¶ 3. Both seek to proceed

under pseudonym in order to adequately protect their privacy. Poe Decl. ¶ 8; Doe Decl. ¶ 8.

Appearing by their initials is insufficient to protect their privacy because the complaint discloses

details that, when combined with their initials, would reveal their identities. Id.

       For example, the complaint discloses that Pam Poe is a transgender fifteen-year-old girl,

and it discloses her hobbies, interests, and unique experiences. Compl. ¶¶ 71–81. Likewise, the

complaint discloses that Jane Doe is a transgender sixteen-year-old girl, and it discloses her

hobbies, academic interests, and unique experiences. Compl. ¶¶ 82–94. This information plus

their initials would be sufficient to reveal these minor plaintiffs’ identities to anyone motivated to

uncover their identities and do them harm. Poe Decl. ¶ 8; Doe Decl. ¶ 8. The only way to




                                                      3
         Case 1:23-cv-00269-BLW Document 11-1 Filed 05/31/23 Page 4 of 8




protect their identities while placing relevant facts before the Court is to allow them to proceed

under pseudonym.

         Likewise, both Pam Poe’s and Jane Doe’s next friends and parents should be allowed to

proceed anonymously. Each minor Plaintiff shares the same last name as her parents. Poe Decl.

¶ 8; Doe Decl. ¶ 8. Revealing their parents’ names would effectively identify the minors’ names.

Id. This Court can, and should, protect against this breach of the minor Plaintiffs’ privacy. See

Stegall, 653 F.2d at 186; Porter, 370 F.3d at 561.


        B.      Plaintiffs Should Be Permitted to Proceed Under Pseudonym to Protect
                Them from Harm.

        Concealing Pam Poe and Jane Doe’s identities is a sufficient goal in its own right, given

that they are minors, and this is a case about their healthcare. But there is a separate,

independently sufficient reason to permit pseudonymous litigation here: Publication of any of

the Plaintiffs’ identities would put them in harm’s way. The Ninth Circuit has recognized the

importance of allowing plaintiffs to proceed under pseudonym “when identification creates a risk

of retaliatory physical or mental harm” and “the need for anonymity outweighs prejudice to the

opposing party and the public’s interest in knowing the party’s identity.” Advanced Textile, 214

F. 3d at 1068. Further, courts have recognized that threats of harassment and violence especially

favor anonymity. See Doe v. New Ritz, Inc., Case No. WDQ-14-2367, 2015 WL 4389699 at *2,

n.12 (D. Md. July 14, 2015) (citing Doe v. Stegall, 653 F.2d at 186). All criteria for anonymity

are satisfied here.

        First, all Plaintiffs face a serious risk of retaliatory physical or mental harm if their

identities are revealed. The subject matter of the complaint is one of highly contentious, highly

public debate and scrutiny. The Idaho legislature has passed several bills in recent years limiting

the rights of transgender people, including H.B. 500, which prohibits transgender female athletes


                                                       4
        Case 1:23-cv-00269-BLW Document 11-1 Filed 05/31/23 Page 5 of 8




from participating in women’s sports,1 S.B. 1100 which prohibits transgender individuals from

using the bathroom consistent with their gender identities,2 and H.B. 71, which Plaintiffs

challenge here. As similar laws have passed in other states throughout the country, the topic of

banning gender-affirming medical care for minors has garnered national debate and attention.3

By challenging a statewide law that has received such widespread media attention, Plaintiffs,

including minor children, are at risk of harassment and harm. This is evidenced by the

derogatory and harassing statements made in response to the ACLU’s public Twitter post about

the impact of H.B. 71 on transgender youth in Idaho.4

       This is not specific to Idaho, to be clear. Transgender people, and non-transgender

people who support the transgender community, are often targets of violence. Courts have

recognized as much. “[T]here exist numerous documented instances of those targeted for

violence based on their . . . gender identity.” Whitaker ex rel. Whitaker v. Kenosha Unified Sch.




1
  See, e.g., Madison Hardy, Transgender athletes bill passes senate committee; will be amended
by full senate Monday, Idaho County Free Press (Mar. 14, 2020),
https://www.idahocountyfreepress.com/news/transgenderathletes-bill-passes-senate-committee-
will-be-amended-by-full-senatemonday/article_986cb92c-6596-11ea-90ad-1b1d2c5c15c4.html;
Talya Minsberg, ‘Boys Are Boys and Girls Are Girls’: Idaho Is First State to Bar Some
Transgender Athletes, N.Y. Times (Apr. 1, 2020),
https://www.nytimes.com/2020/04/01/sports/transgender-idaho-ban-sports.html.
2
  See Sydney Kashiwagi, Idaho governor signs bill that restricts transgender students’ bathroom
use in schools, CNN (Mar. 25, 2023), https://www.cnn.com/2023/03/25/politics/idaho-bathroom-
bill-brad-little-transgender-youth/index.html
3
  See, e.g., Francesca Paris, Bans on Transition Care for Young People Spread Across the U.S.,
N.Y. Times (Apr. 17, 2023), https://www.nytimes.com/2023/04/15/upshot/bans-transgender-
teenagers.html#:~:text=Ten%20states%20in%20the%20past,surgery%20for%20people%20unde
r%2018; Geoff Mulvihill, Conflict over transgender rights simmers across the US, AP News
(Apr. 28, 2023), https://apnews.com/article/lgbtq-laws-states-gender-affirming-zephyr-
fc2528326823c8232cb0aaa7ece0beab.
4
  ACLU (@ACLU), Twitter (Apr. 30, 2023, 12:21 P.M.)
https://twitter.com/ACLU/status/1652709652608565252?cxt=HHwWiIC-iYarze8tAAAA



                                                    5
         Case 1:23-cv-00269-BLW Document 11-1 Filed 05/31/23 Page 6 of 8




Dist. No. 1 Bd. of Educ., 858 F.3d 1034, 1051 (7th Cir. 2017) (“There is no denying that

transgender individuals face discrimination, harassment, and violence because of their gender

identity.”); see also In re E.P.L., 26 Misc. 3d 336, 338 (N.Y. Sup. Ct. 2009). This violence often

extends to family members and others who support transgender people, including those who treat

them.5

         Plaintiffs are concerned for their safety, in terms of discrimination, harassment, and

property damage. Poe Decl. ¶ 8; Doe Decl. ¶ 8. Sadly, those concerns are well founded and

reasonable.

         On the other hand, there is no risk of prejudice to the opposing parties in this matter from

allowing Plaintiffs to proceed pseudonymously. The Plaintiffs are willing to provide their




5
  See, e.g., Anna Orso, Philadelphia man dies by suicide after video goes viral of him defending
relationship with trans girlfriend, friends say, Philadelphia Inquirer (Aug. 22, 2019),
https://www.inquirer.com/news/maurice-willoughby-died-by-suicide-after-viral-video-
defending-transgender-girlfriend-20190822.html (describing death by suicide of cisgender man
who was harassed for being in a relationship with a transgender woman); Barbara Findlay,
Acting Queerly: Lawyering for Trans People in Trans/Forming Feminisms: Trans-Feminist
Voices Speak Out, 145, 150–51 (Krista Scott-Dixon, ed.) (2006) (describing social ostracism of
cisgender attorney who represented transgender woman); Brandon Teena’s Killers: 25 Years
Later, Forensic Files Now (Apr. 12, 2019),
https://forensicfilesnow.com/index.php/2019/04/12/brandon-teenas-killers-25-years-
later/comment-page-1/ (describing murder of transgender man, cisgender woman in a
relationship with the transgender man, and a cisgender man who was staying with them);
Michael Rowe, Remembering Pfc. Barry Winchell on the 10th Anniversary of His Murder,
HuffPost (Dec. 6, 2017), https://www.huffpost.com/entry/taps-for-barry-winchell-r_b_226004
(describing murder of a cisgender man for being in a relationship with a transgender woman);
Emily McCombs, Christian, Conservative And Parenting A Transgender Child in Texas,
HuffPost (Mar. 2, 2017, 5:19 PM), https://www.huffpost.com/entry/kimberly-and-kai-shappley-
transgenderchild-bathroom-rights_n_58b5b5b6e4b060480e0c4393 (describing family and
friends of cisgender woman rejecting her after she began support her transgender daughter);
Megan Messerly, Health care access for trans youth is crumbling — and not just in red states,
Politico (Apr. 23, 2023), https://www.politico.com/news/2023/04/23/docs-who-treat-trans-youth-
under-attack-00093322 (describing death threats, harassment, fears of litigation, and lack of
support from institutions that undermines providers’ ability to provide care to transgender
individuals).


                                                      6
        Case 1:23-cv-00269-BLW Document 11-1 Filed 05/31/23 Page 7 of 8




identities to the Defendants in discovery pursuant to a confidentiality order. Their application

here is merely to avoid public disclosure. Thus, allowing Plaintiffs to file under a pseudonym

will not prejudice the opposing parties in investigating the claims or presenting a defense.

Furthermore, pseudonyms will not “‘obstruct public scrutiny of the important issues in this

case.’” Doe v. Kamehameha Schools/Bernice Pauahi Bishop Estate, 596 F.3d 1036, 1043 (9th

Cir. 2020) (quoting Advanced Textile, 214 F.3d at 1072); see also Armstrong, 2017 WL 2636519

at *2 (noting that anonymity may actually further public interest in disclosure, since it may lead

to fuller disclosure of sensitive information the plaintiff would otherwise not put forward). The

facts presented are sufficient to provide the public information about the case without disclosing

Plaintiffs’ names and identities.


   Conclusion

       That Pam Poe and Jane Doe are minors, the nature of the private information at issue, the

history of violence and harm to the transgender community and those who defend and associate

with them, and the contentious nature of this dispute all support anonymity in this case. Granting

this motion will not prejudice the Defendants or the public. For the foregoing reasons, the

motion to proceed under pseudonym should be granted.



 Dated: May 31, 2023                               Respectfully submitted,

                                                  /s/
 AMERICAN CIVIL LIBERTIES UNION                   PAUL, WEISS, RIFKIND, WHARTON &
 FOUNDATION                                       GARRISON LLP


 /s/ Li Nowlin-Sohl                                /s/ Alexia D. Korberg
 Li Nowlin-Sohl                                    Alexia D. Korberg




                                                     7
       Case 1:23-cv-00269-BLW Document 11-1 Filed 05/31/23 Page 8 of 8




/s/ Leslie Cooper                      /s/ Jackson Yates
Leslie Cooper                          Jackson Yates

/s/ Taylor Brown                       /s/ Dana L. Kennedy
Taylor Brown                           Dana L. Kennedy

                                       /s/ Jordan Orosz
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Casey Parsons

                                       /s/ Ariella C. Barel
                                       Ariella C. Barel




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